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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS
                             (Kansas City Docket)

UNITED STATES OF AMERICA,

                    Plaintiff,

    v.                                     Case No. 17-20074-JAR/JPO

JORGE PORTILLO-URANGA
  a.k.a. Pelon
  a.k.a. Floyed Portillo
  a.k.a. Saul,
JESUS ARELLANES-PORTILLO
  a.k.a. Primo
  a.k.a. Chuy
  a.k.a. Young Guy,
LUIS CHAVEZ
  a.k.a. Cheves,
JESUS GERARDO PADILLA
  a.k.a. Evaristo Rojas-Estrada
  a.k.a. Negro,
LUIS REYES-URANGA
  a.k.a. Nene,
MARTIN CASTANEDA-ONTIVEROS
  a.k.a. Parral
  a.k.a. Parralito,
MARIO CARILLO-ELIAS
  a.k.a. Mayito
  a.k.a. Mayo
  a.k.a. Mario
  a.k.a. Carlos,
JULIO CALZADA
  a.k.a. Doc,
DIANA CALZADA,
ISMAEL ENAMORADO,
RODOLFO ZAMBRANO
  a.k.a. Rudy,
JORGE CADENA-FRANKLIN
  a.k.a. Gordito,
  and
JOSE ARTURO BEJARANO-SOSA
  a.k.a. Cabezon
  a.k.a. El Patron,

                    Defendants.
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                               SUPERSEDING INDICTMENT

       The Grand Jury charges:

                                           COUNT 1

       Commencing on or about January 1, 2014, the exact date being unknown, and continuing

to on or about December 19, 2017, in the District of Kansas and elsewhere, the defendants,

                              JORGE PORTILLO-URANGA
                                           a.k.a. Pelon
                                     a.k.a. Floyed Portillo
                                           a.k.a. Saul,
                             JESUS ARELLANES-PORTILLO
                                          a.k.a. Primo
                                           a.k.a. Chuy
                                       a.k.a. Young Guy,
                                        LUIS CHAVEZ
                                         a.k.a. Cheves,
                               JESUS GERARDO PADILLA
                                a.k.a. Evaristo Rojas-Estrada
                                          a.k.a. Negro,
                                   LUIS REYES-URANGA
                                           a.k.a. Nene,
                           MARTIN CASTANEDA-ONTIVEROS
                                          a.k.a. Parral
                                        a.k.a. Parralito,
                                 MARIO CARILLO-ELIAS
                                          a.k.a. Mayito
                                           a.k.a. Mayo
                                          a.k.a. Mario
                                          a.k.a. Carlos,
                                      JULIO CALZADA
                                            a.k.a. Doc,
                                     DIANA CALZADA,
                                  ISMAEL ENAMORADO,
                                  RODOLFO ZAMBRANO
                                           a.k.a. Rudy,
                              JORGE CADENA-FRANKLIN
                                         a.k.a. Gordito,
                                               and
                            JOSE ARTURO BEJARANO-SOSA
                                         a.k.a. Cabezon
                                        a.k.a. El Patron,

knowingly and intentionally conspired and agreed with each other, and with others known and

unknown, to distribute and possess with intent to distribute cocaine and marijuana, controlled
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substances, in violation of Title 21, United States Code, Sections 841(a)(1) and Title 18, United

States Code, Section 2.

               QUANTITY OF COCAINE INVOLVED IN THE CONSPIRACY

       With respect to defendants JORGE PORTILLO-URANGA a.k.a. Pelon a.k.a. Floyed

Portillo a.k.a. Saul, JESUS ARELLANES-PORTILLO a.k.a. Primo a.k.a. Chuy a.k.a. Young Guy,

LUIS CHAVEZ a.k.a. Cheves, JESUS GERARDO PADILLA a.k.a. Evaristo Rojas-Estrada a.k.a.

Negro, LUIS REYES-URANGA a.k.a. Nene, MARTIN CASTANEDA-ONTIVEROS a.k.a.

Parral a.k.a. Parralito, MARIO CARILLO-ELIAS a.k.a. Mayito a.k.a. Mayo a.k.a. Mario a.k.a.

Carlos, JULIO CALZADA a.k.a. Doc, DIANA CALZADA, and JORGE CADENA-FRANKLIN

a.k.a. Gordito, their conduct as members of the cocaine conspiracy charged in Count 1, which

includes the reasonably foreseeable conduct of other members of the conspiracy charged in Count

1, involved more than five kilograms of cocaine, a controlled substance, in violation of Title 21,

United States Code, Section 841(b)(1)(A)(ii).

       With respect to defendants ISMAEL ENAMORADO and RODOLFO ZAMBRANO a.k.a.

Rudy, their conduct as members of the cocaine conspiracy charged in Count 1, which includes the

reasonably foreseeable conduct of other members of the conspiracy charged in Count 1, involved

500 grams or more of cocaine, a controlled substance, in violation of Title 21, United States Code,

Section 841(b)(1)(B)(ii).

             QUANTITY OF MARIJUANA INVOLVED IN THE CONSPIRACY

       With respect to the defendants JORGE PORTILLO-URANGA a.k.a. Pelon a.k.a. Floyed

Portillo a.k.a. Saul, JESUS ARELLANES-PORTILLO a.k.a. Primo a.k.a. Chuy a.k.a. Young

Guy, LUIS CHAVEZ a.k.a. Cheves, JESUS GERARDO PADILLA a.k.a. Evaristo Rojas-

Estrada a.k.a. Negro, LUIS REYES-URANGA a.k.a. Nene, MARTIN CASTANEDA-

ONTIVEROS a.k.a. Parral a.k.a. Parralito, MARIO CARILLO-ELIAS a.k.a. Mayito a.k.a. Mayo

a.k.a. Mario a.k.a. Carlos, JULIO CALZADA a.k.a. Doc, DIANA CALZADA, JORGE
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CADENA-FRANKLIN a.k.a. Gordito, and JOSE ARTURO BEJARANO-SOSA a.k.a. Cabezon

a.k.a. El Patron, their conduct as members of the conspiracy charged in Count One, which

includes the reasonably foreseeable conduct of other members of the conspiracy charged in

Count One, involved more than 100 kilograms of marijuana, a controlled substance, in violation

of Title 21, United States Code, Section 841(b)(1)(B)(vii).

       All in violation of Title 21, United States Code, Section 846 and Title 18, United States

Code, Section 2.

                                            COUNT 2

       On or about March 5, 2015, in the District of Kansas, the defendant,

                                         LUIS CHAVEZ
                                          a.k.a. Cheves,

knowingly and intentionally used a communication facility, to wit: a telephone, in committing,

causing, and facilitating the offense set forth in Count 1 of this Superseding Indictment,

incorporated by reference herein.

       This was in violation of Title 21, United States Code, Section 843(b).

                                            COUNT 3

       On or about March 18, 2015, in the District of Kansas, the defendant,

                                 JESUS GERARDO PADILLA
                                 a.k.a. Evaristo Rojas-Estrada,

knowingly and intentionally used a communication facility, to wit: a telephone, in committing,

causing, and facilitating the offense set forth in Count 1 of this Superseding Indictment,

incorporated by reference herein.

       This was in violation of Title 21, United States Code, Section 843(b).

                                            COUNT 4

       On or about December 12, 2016, in the District of Kansas, the defendants,


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                              JESUS ARELLANES-PORTILLO
                                        a.k.a. Primo
                                        a.k.a. Chuy
                                     a.k.a. Young Guy,
                                             and
                                   DIANA CALZADA,

knowingly and intentionally used a communication facility, to wit: a telephone, in committing,

causing, and facilitating the offense set forth in Count 1 of this Superseding Indictment,

incorporated by reference herein.

       This was in violation of Title 21, United States Code, Section 843(b).

                                            COUNT 5

       On or about February 7, 2017, in the District of Kansas, the defendants,

                              JESUS ARELLANES-PORTILLO
                                        a.k.a. Primo
                                         a.k.a. Chuy
                                     a.k.a. Young Guy,
                                             and
                                 MARIO CARILLO-ELIAS
                                        a.k.a. Mayito
                                         a.k.a. Mayo
                                        a.k.a. Mario
                                        a.k.a. Carlos,

knowingly and intentionally used a communication facility, to wit: a telephone, in committing,

causing, and facilitating the offense set forth in Count 1 of this Superseding Indictment,

incorporated by reference herein.

       This was in violation of Title 21, United States Code, Section 843(b).

                                            COUNT 6

       On or about April 24, 2017, in the District of Kansas, the defendants,

                                JORGE PORTILLO-URANGA
                                         a.k.a. Pelon
                                    a.k.a. Floyed Portillo
                                         a.k.a. Saul,
                                             and
                                  LUIS REYES-URANGA
                                         a.k.a. Nene,
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knowingly and intentionally used a communication facility, to wit: a telephone, in committing,

causing, and facilitating the offense set forth in Count 1 of this Superseding Indictment,

incorporated by reference herein.

       This was in violation of Title 21, United States Code, Section 843(b).

                                             COUNT 7

       On or about April 27 and April 28, 2017, in the District of Kansas and elsewhere, the

defendants,

                                JORGE PORTILLO-URANGA
                                         a.k.a. Pelon
                                    a.k.a. Floyed Portillo
                                          a.k.a. Saul,
                               JESUS ARELLANES-PORTILLO
                                         a.k.a. Primo
                                         a.k.a. Chuy
                                      a.k.a. Young Guy,
                                              and
                                     JULIO CALZADA
                                          a.k.a. Doc,

knowingly and intentionally attempted to transport funds, that is $99,840.00 in United States

currency, from a place in the United States, that is Kansas City, Kansas, to a place outside the

United States, that is Mexico, with the intent to promote the carrying on of a specified unlawful

activity, that is distribution and possession with intent to distribute cocaine and marijuana,

controlled substances.

       This was in violation of Title 18, United States Code, Section 1956(a)(2)(A), and Title

18, United States Code, Section 2.

                                             COUNT 8

       On or about April 28, 2017, in the District of Kansas and elsewhere, the defendants,

                                JORGE PORTILLO-URANGA
                                         a.k.a. Pelon
                                    a.k.a. Floyed Portillo
                                         a.k.a. Saul,
                               JESUS ARELLANES-PORTILLO
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                                     a.k.a. Primo
                                      a.k.a. Chuy
                                  a.k.a. Young Guy,
                                LUIS REYES-URANGA
                                      a.k.a. Nene,
                           MARTIN CASTANEDA-ONTIVEROS
                                     a.k.a. Parral
                                   a.k.a. Parralito,
                               MARIO CARILLO-ELIAS
                                     a.k.a. Mayito
                                      a.k.a. Mayo
                                     a.k.a. Mario
                                     a.k.a. Carlos,
                                          and
                             JORGE CADENA-FRANKLIN
                                    a.k.a. Gordito,

knowingly and intentionally possessed with intent to distribute more than 500 grams of cocaine,

a controlled substance.

       This was in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(B)(ii),

and Title 18, United States Code, Section 2.

                                           COUNT 9

       On or about April 30 and May 1, 2017, in the District of Kansas, the defendants,

                             JORGE PORTILLO-URANGA
                                       a.k.a. Pelon
                                 a.k.a. Floyed Portillo
                                       a.k.a. Saul,
                            JESUS ARELLANES-PORTILLO
                                      a.k.a. Primo
                                       a.k.a. Chuy
                                   a.k.a. Young Guy,
                           MARTIN CASTANEDA-ONTIVEROS
                                      a.k.a. Parral
                                    a.k.a. Parralito,
                                           and
                               MARIO CARILLO-ELIAS
                                      a.k.a. Mayito
                                       a.k.a. Mayo
                                      a.k.a. Mario
                                      a.k.a. Carlos,



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knowingly and intentionally possessed with intent to distribute more than 500 grams of cocaine,

a controlled substance.

       This was in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(B)(ii),

and Title 18, United States Code, Section 2.

                                           COUNT 10

       On or about May 3, 2017, in the District of Kansas, the defendants,

                               JORGE PORTILLO-URANGA
                                        a.k.a. Pelon
                                   a.k.a. Floyed Portillo
                                         a.k.a. Saul
                                             and
                              JESUS ARELLANES-PORTILLO
                                        a.k.a. Primo
                                        a.k.a. Chuy
                                     a.k.a. Young Guy,

knowingly and intentionally used a communication facility, to wit: a telephone, in committing,

causing, and facilitating the offense set forth in Count 1 of this Superseding Indictment,

incorporated by reference herein.

       This was in violation of Title 21, United States Code, Section 843(b).

                                           COUNT 11

       On or about May 31, 2017, in the District of Kansas, the defendants,

                              JORGE PORTILLO-URANGA
                                        a.k.a. Pelon
                                  a.k.a. Floyed Portillo
                                        a.k.a. Saul,
                             JESUS ARELLANES-PORTILLO
                                       a.k.a. Primo
                                        a.k.a. Chuy
                                    a.k.a. Young Guy,
                            MARTIN CASTANEDA-ONTIVEROS
                                       a.k.a. Parral
                                     a.k.a. Parralito,
                                MARIO CARILLO-ELIAS
                                       a.k.a. Mayito
                                        a.k.a. Mayo
                                       a.k.a. Mario
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                                       a.k.a. Carlos,
                                   ISMAEL ENAMORADO,
                                            and
                                   RODOLFO ZAMBRANO
                                        a.k.a. Rudy,

knowingly and intentionally possessed with intent to distribute more than 500 grams of cocaine,

a controlled substance.

       This was in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(B)(ii),

and Title 18, United States Code, Section 2.

                                           COUNT 12

       On or about May 31, 2017, in the District of Kansas, the defendant,

                                   ISMAEL ENAMORADO,

knowingly possessed a 9mm CZ pistol, model CZ75 P-09, with serial number B690277, in

furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United

States, that is, possession with intent to distribute more than 500 grams of cocaine, as charged in

Count 11.

       This was in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

                                           COUNT 13

       On or July 7, 2017, in the District of Kansas and elsewhere, the defendants,

                             JORGE PORTILLO-URANGA
                                      a.k.a. Pelon
                                 a.k.a. Floyed Portillo
                                       a.k.a. Saul,
                            JESUS ARELLANES-PORTILLO
                                      a.k.a. Primo
                                      a.k.a. Chuy
                                   a.k.a. Young Guy,
                                           and
                           MARTIN CASTANEDA-ONTIVEROS
                                      a.k.a. Parral
                                    a.k.a. Parralito,



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knowingly and intentionally attempted to transport funds, that is $64,980.00 in United States

currency, from a place in the United States, that is Kansas City, Kansas, to a place outside the

United States, that is Mexico, with the intent to promote the carrying on of a specified unlawful

activity, that is distribution and possession with intent to distribute cocaine and marijuana,

controlled substances.

       This was in violation of Title 18, United States Code, Section 1956(a)(2)(A), and Title

18, United States Code, Section 2.

                                            COUNT 14

       On or about August 14, 2017, in the District of Kansas, the defendants,

                               JESUS ARELLANES-PORTILLO
                                         a.k.a. Primo
                                         a.k.a. Chuy
                                      a.k.a. Young Guy
                                              and
                                   LUIS REYES-URANGA
                                         a.k.a. Nene,

knowingly and intentionally possessed with intent to distribute cocaine, a controlled substance.

       This was in violation of Title 21, United States Code, Sections 841(a)(1) and Title 18,

United States Code, Section 2.

                                            COUNT 15

       On or about August 14, 2017, in the District of Kansas, the defendant,

                               JESUS ARELLENES-PORTILLO
                                        a.k.a. Primo
                                        a.k.a. Chuy
                                     a.k.a. Young Guy,

knowingly possessed a nonimmigrant visa, in the name Francisco Miguel Alcantar Cruz, which

the defendant knew to be falsely made.

       This was in violation of Title 18, United States Code, Section 1546(a).



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                                           COUNT 16

       On or about August 14, 2017, in the District of Kansas, the defendant,

                              JESUS ARELLENES-PORTILLO
                                       a.k.a. Primo
                                       a.k.a. Chuy
                                    a.k.a. Young Guy,

knowingly possessed an I-94 document, in the name Francisco Miguel Alcantar Cruz, which the

defendant knew to be falsely made.

       This was in violation of Title 18, United States Code, Section 1546(a).

                                           COUNT 17

       On or about December 19, 2017, in the District of Kansas, the defendant,

                             JOSE ARTURO BEJARANO-SOSA
                                     a.k.a. Cabezon
                                    a.k.a. El Patron,

knowingly and intentionally possessed with intent to distribute marijuana, a controlled substance.

       This was in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.

                                           COUNT 18

       On or about December 19, 2017, in the District of Kansas, the defendant,

                             JOSE ARTURO BEJARANO-SOSA
                                     a.k.a. Cabezon
                                    a.k.a. El Patron,

a citizen of Mexico, who is not a citizen or national of the United States, and who previously was

deported and removed from the United States on or about December 26, 2008, and who had not

obtained the consent of either the Attorney General of the United States or the Secretary of

Homeland Security for reapplication for admission into the United States, was found to be

knowingly and unlawfully in the United States.



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       This was done in violation of Title 8, United States Code, Section 1326(a), with reference

to Title 6, United States Code, Sections 202(3), 202(4), and 557.

                               FORFEITURE ALLEGATION I

       The allegations contained in Counts 1 through 6, 8 through 11, 14, and 17 of this

Superseding Indictment are re-alleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to the provisions of Title 21, United States Code, Sections 853. As a result

of the commission of the violations charged in Counts 1 through 6, 8 through 11, 14, and 17 of

this Superseding Indictment, and upon conviction of one or more of these offenses, the

defendants,

                              JORGE PORTILLO-URANGA
                                           a.k.a. Pelon
                                     a.k.a. Floyed Portillo
                                           a.k.a. Saul,
                             JESUS ARELLANES-PORTILLO
                                          a.k.a. Primo
                                           a.k.a. Chuy
                                       a.k.a. Young Guy,
                                        LUIS CHAVEZ
                                         a.k.a. Cheves,
                               JESUS GERARDO PADILLA
                                a.k.a. Evaristo Rojas-Estrada
                                          a.k.a. Negro,
                                   LUIS REYES-URANGA
                                           a.k.a. Nene,
                            MARTIN CASTANEDA-ONTIVEROS
                                          a.k.a. Parral
                                        a.k.a. Parralito,
                                 MARIO CARILLO-ELIAS
                                          a.k.a. Mayito
                                           a.k.a. Mayo
                                          a.k.a. Mario
                                          a.k.a. Carlos,
                                      JULIO CALZADA
                                            a.k.a. Doc,
                                     DIANA CALZADA,
                                  ISMAEL ENAMORADO,
                                  RODOLFO ZAMBRANO
                                           a.k.a. Rudy,
                              JORGE CADENA-FRANKLIN
                                         a.k.a. Gordito,
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                                            and
                              JOSE ARTURO BEJARANO-SOSA
                                      a.k.a. Cabezon
                                     a.k.a. El Patron,

shall forfeit to the United States pursuant to Title 21, United States Code, Sections 853, any and

all property constituting or derived from any proceeds that the defendants obtained directly or

indirectly as a result of the violations charged in Counts 1 through 6, 8 through 11, 14, and 17 of

this Superseding Indictment, any and all property used or intended to be used in any manner or

part to commit and to facilitate the commission of the violations alleged in Counts 1 through 6, 8

through 11, 14, and 17 of this Superseding Indictment, including but not limited to the following:

       A.      MONEY JUDGMENT

       A money judgment for each defendant in an amount that represents the proceeds each

defendant obtained from Counts 1 through 6, 8 through 11, 14, and 17 of this Superseding

Indictment.

       B.      SUBSTITUTE ASSETS

       The United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18, United

States Code, Section 982(b)(1) and Title 28, United States Code, Section 2461(c). In the event

any of the foregoing property:

       a.      cannot be located upon the exercise of due diligence
       b.      has been transferred or sold to, or deposited with, a third party;
       c.      has been placed beyond the jurisdiction of the court;
       d.      has been substantially diminished in value; or
       e.      has been commingled with other property which cannot be divided without
               difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any property of the defendant up to the value of the above-described

forfeitable property.


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                               FORFEITURE ALLEGATION II

       The allegations contained in Counts 1, 11, and 12 of this Superseding Indictment are hereby

re-alleged and incorporated by reference for the purpose of alleging forfeitures pursuant to Title

18, United States Code, Section 924(d) and Title 28, United States Codes, Section 2461(c).

       As a result of the commission of the violations charges in Counts 1, 11, and 12 of this

Superseding Indictment, and upon conviction of these offenses, the defendant,

                                   ISMAEL ENAMORADO,

shall forfeit to the United States of America any firearm or ammunition used or involved in the

commission of the offenses in Counts 1, 11, and 12 of this Superseding Indictment, including, but

not limited to:

       1. a 9mm CZ pistol, model CZ75 P-09, with serial number B690277, and ammunition,

       seized by Kansas City, Kansas police on May 31, 2017.

                                              A TRUE BILL.

Dated: January 17, 2018                       /s/ Foreperson
                                              FOREPERSON

THOMAS E. BEALL
United States Attorney
District of Kansas


/s/ Trent M. Krug                                     /s/ David P. Zabel
By: Trent M. Krug                                     By: David P. Zabel
Assistant United States Attorney                      Assistant United States Attorney
500 State Ave., Suite 360                             500 State Ave., Suite 360
Kansas City, KS 66101                                 Kansas City, KS 66101
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Fax 913-551-6541                                      Tel. 913-551-6541
Trent.Krug@usdoj.gov                                  David.Zabel@usdoj.gov
Ks. S. Ct. No. 19454                                  Ks. S. Ct. No. 17887


(It is requested that trial of the above captioned case be held in Kansas City, Kansas.)



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                                         PENALTIES

Count 1:     21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A)(ii); and 18 U.S.C. § 2
             Conspiracy to distribute and possess with intent to distribute more than five
             kilograms of cocaine

      #      NLT 10 years and NMT life imprisonment,
      #      NMT $10,000,000 fine,
      #      NLT 5 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

      If the defendant has a prior conviction for a felony drug offense:

      #      NLT 20 years and NMT life imprisonment,
      #      NMT $20,000,000 fine,
      #      NLT 10 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

      If the defendant has two or more prior convictions for felony drug offenses:

      #      Life imprisonment,
      #      NMT $20,000,000 fine,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

Count 1:     21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(B)(ii); and 18 U.S.C. § 2
             Conspiracy to distribute and possess with intent to distribute more than 500
             grams of cocaine

      #      NLT 5 years and NMT 40 years imprisonment,
      #      NMT $5,000,000 fine,
      #      NLT 4 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

      If the defendant has a prior conviction for a felony drug offense:

      #      NLT 10 years and NMT life imprisonment,
      #      NMT $8,000,000 fine,
      #      NLT 8 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

Count 1:     21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(B)(vii) ; and 18 U.S.C. § 2
             Conspiracy to distribute and possess with intent to distribute more than 100
             kilograms of marijuana

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      #      NLT 5 years and NMT 40 years imprisonment,
      #      NMT $5,000,000 fine,
      #      NLT 4 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

      If the defendant has a prior conviction for a felony drug offense:

      #      NLT 10 years and NMT life imprisonment,
      #      NMT $8,000,000 fine,
      #      NLT 8 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

Counts 2-6 & 10:     21 U.S.C. § 843(b)
                     Unlawful use of a communication facility

      #      NMT 4 years imprisonment,
      #      NMT $250,000 fine,
      #      NMT 3 years supervised release,
      #      Forfeiture Allegation I; and
      #      $100 special assessment fee.

Count 7 & 13:        18 U.S.C. § 1956(a)(2)(A) & 2
                     Money Laundering

      #      NMT 20 years imprisonment,
      #      NMT $500,000 fine,
      #      NMT 3 years supervised release, and
      #      $100 special assessment fee.

Counts 8, 9 & 11:    21 U.S.C. 841(a)(1), (b)(1)(B)(ii); and 18 U.S.C. § 2
                     Possession with intent to distribute more than 500 grams of cocaine

      #      NLT 5 years and NMT 40 years imprisonment,
      #      NMT $5,000,000 fine,
      #      NLT 4 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.

      If the defendant has a prior conviction for a felony drug offense:

      #      NLT 10 years and NMT life imprisonment,
      #      NMT $8,000,000 fine,
      #      NLT 8 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation I.


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Count 12:    18 U.S.C. § 924(c)(1)(A)(i)
             Possession of a firearm in furtherance of drug trafficking

      #      NLT 5 years and NMT life imprisonment consecutive to any other sentence
             imposed,
      #      NMT $250,000 fine,
      #      NMT 5 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation II.

      In the case of a second or subsequent conviction under this subsection, the penalties are:

      #      NLT 25 years and NMT life imprisonment consecutive to any other sentence
             imposed,
      #      NMT $250,000 fine,
      #      NMT 5 years supervised release,
      #      $100 special assessment, and
      #      Forfeiture allegation II.

Count 14:    21 U.S.C. 841(a)(1), (b)(1)(C) and 18 U.S.C. § 2
             Possession with intent to distribute cocaine

      #      NMT 20 years imprisonment,
      #      NMT $1,000,000 fine,
      #      NLT 3 years supervised release, and
      #      $100 special assessment, and
      #      Forfeiture allegation I.

      If the defendant has a prior conviction for a felony drug offense:

      #      NMT 30 years imprisonment,
      #      NMT $2,000,000 fine,
      #      NLT 6 years supervised release $100 special assessment, and
      #      Forfeiture allegation I.

Counts 15 and 16:    18 U.S.C. § 1546(a)
                     Use of a fraudulent immigration document

      #      NMT 20 years imprisonment,
      #      NMT $1,000,000 fine,
      #      NLT 3 years supervised release, and
      #      $100 special assessment.

Count 17:    21 U.S.C. § 841(a)(1)
             Possession with Intent to Distribute Marijuana

      #      NMT 5 years imprisonment,
      #      NMT $250,000 fine,
      #      NLT 2 years supervised release,
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      #      $100 special assessment fee, and
      #      Forfeiture allegation I.

      If the defendant has a prior conviction for a felony drug offense the penalties are:

      #      NMT 10 years imprisonment,
      #      NMT $500,000 fine,
      #      NLT 4 years supervised release,
      #      $100 special assessment fee, and
      #      Forfeiture allegation I.

Count 18:    8 U.S.C. § 1326(a)
             Illegal Entry by a Deported Alien

      #      NMT 2 years imprisonment,
      #      NMT $250,000 fine,
      #      NMT 1 year supervised release, and
      #      $100 special assessment fee.




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